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                   IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


 UNITED STATES OF AMERICA,

                   Plaintiff,

        v.                                 CRIMINAL NO. 1:16CR86-02
                                                (Judge Keeley)

 JENNIFER Y. LUCAS,

                   Defendant.

      ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
        CONCERNING PLEA OF GUILTY IN FELONY CASE (DKT. NO. 35),
       ACCEPTING GUILTY PLEA, AND SCHEDULING SENTENCING HEARING

        On   January   20,   2017,   the   defendant,    Jennifer      Y.   Lucas

 (“Lucas”), appeared before United States Magistrate Judge Michael

 J. Aloi and moved for permission to enter a plea of GUILTY to Count

 Four of the Indictment. Lucas stated that she understood that the

 magistrate judge is not a United States District Judge, and

 consented to pleading before the magistrate judge.            This Court had

 referred the guilty plea to the magistrate judge for the purposes

 of   administering    the   allocution    pursuant     to   Federal    Rule   of

 Criminal Procedure 11, making a finding as to whether the plea was

 knowingly and voluntarily entered, and recommending to this Court

 whether the plea should be accepted.

        Based upon Lucas’s statements during the plea hearing and the

 government’s proffer establishing that an independent factual basis

 for the plea existed, the magistrate judge found that Lucas was

 competent to enter a plea, that the plea was freely and voluntarily
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 given, that she was aware of the nature of the charges against her

 and the consequences of her plea, and that a factual basis existed

 for the tendered plea. On January 20, 2017, the magistrate judge

 entered an Report and Recommendation Concerning Plea of Guilty in

 Felony Case (“R&R”) (dkt. no. 35) finding a factual basis for the

 plea and recommended that this Court accept Lucas’s plea of guilty

 to Count Four of the Indictment.

       The magistrate judge also directed the parties to file any

 written objections to the R&R within fourteen (14) days after

 service of the R&R. He further advised that failure to file

 objections would result in a waiver of the right to appeal from a

 judgment of this Court based on the R&R. After which, the parties

 did not file any objections.

       Accordingly, this Court ADOPTS the magistrate judge’s R&R,

 ACCEPTS Lucas’s guilty plea, and ADJUGES her GUILTY of the crime

 charged in Count Four of the Indictment.

       Pursuant to Fed. R. Crim. P. 11(c)(3) and U.S.S.G. § 6B1.1(c),

 the Court DEFERS acceptance of the proposed plea agreement until it

 has received and reviewed the presentence report prepared in this

 matter.



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         Pursuant to U.S.S.G. § 6A1 et seq., the Court ORDERS as

 follows:

         1.   The   Probation     Officer    undertake      a   presentence

 investigation of Lucas and prepare a presentence report for the

 Court;

         2.   The Government and Lucas are to provide their versions of

 the offense to the probation officer by February 14, 2017;

         3.   The presentence report is to be disclosed to Lucas,

 defense counsel, and the United States on or before April 14, 2017;

 however, the Probation Officer is not to disclose the sentencing

 recommendations made pursuant to Fed. R. Crim. P. 32(e)(3);

         4.   Counsel may file written objections to the presentence

 report on or before April 28, 2017;

         5.   The Office of Probation shall submit the presentence

 report with addendum to the Court on or before May 5, 2017; and

         6.   Counsel may file any written sentencing statements and

 motions for departure from the Sentencing Guidelines, including the

 factual basis from the statements or motions, on or before May 5,

 2017.




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       The   Court   will   conduct    the   sentencing    hearing      for   the

 defendant    on   Thursday,   May    18,    2017   at   11:30   A.M.   at    the

 Clarksburg, West Virginia point of holding court.

       It is so ORDERED.

       The Clerk is directed to transmit copies of this Order to

 counsel of record and all appropriate agencies.

 DATED: February 6, 2017


                                      /s/ Irene M. Keeley
                                      IRENE M. KEELEY
                                      UNITED STATES DISTRICT JUDGE




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